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 5         Attorneys for Defendants:
     Migran Petrosyan, Khachatur Arutunyan
 6
 7                          UNITED STATES DISTRICT COURT
 8                         EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES,                     ) 2:08-cr-00427-MCE
                                        )
11                  Plaintiff,          )
                                        )
12        v.                            ) WAIVER OF PERSONAL APPEARANCE OF
                                        ) KHACHATUR ARUTUNYAN
13   MIGRAN PETROSYAN, KHACHATUR        )
     ARUTUNYAN, et al.                  ) ORDER
14                                      )
                    Defendants.         )
15                                      )
     __________________________________ )
16
17         Pursuant to Federal Rules of Criminal Procedure, Rule 43(c)(3),
18   defendant, KHACHATUR ARUTUNYAN hereby waives the right to be present
19   in person in open court upon the hearing of any motion or other pre-
20   trial proceeding in this cause except that he will agree to be
21   personally present for any plea, sentencing or jury trial, and he
22   agrees to be personally present in court when ordered by the court to
23   be present.
24   ///
25   ///
26   ///
27   ///
28
                               _____________________________________________________
                                                   WAIVER OF PERSONAL APPEARANCE
                                                           OF KHACHATUR ARUTUNYAN
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 1        Defendant KHACHATUR ARUTUNYAN, hereby requests the court to
 2   proceed during every absence of his which the court may permit
 3   pursuant to this waiver; agrees that his interests will be deemed
 4   represented at all times by the presence of his attorney, the same as
 5   if defendant   KHACHATUR ARUTUNYAN were personally present and further
 6   agrees to be present in court ready for hearing any day and hour the
 7   court may fix in his absence.
 8        Defendant KHACHATUR ARUTUNYAN further acknowledges that he has
 9   been informed of his rights under Title 18 U.S.C. sections 3161-3174
10   of the Speedy Trial Act, and authorized his attorney to set times and
11   delays under the Act without defendant KHACHATUR ARUTUNYAN being
12   present and agrees to waive any and all time under both the Sixth
13   Amendment to the Constitution and the Speedy Trial Act regarding his
14   rights to a speedy public jury trial.
15        The original signed copy of this document shall be maintained by
16   counsel.
17   Dated: June 7, 2010                     GUROVICH, BERK & ASSOCIATES, APC.
18                                           By:_________________________
                                                Dmitry Gurovich, Esq.
19                                              Attorney for Defendant
                                                KHACHATUR ARUTUNYAN
20                                           ___________________________________
                                              KHACHATUR ARUTUNYAN, Defendant
21
     IT IS SO ORDERED.
22
23   Dated: June 14, 2010

24
                                         _____________________________
25                                       MORRISON C. ENGLAND, JR.
26                                       UNITED STATES DISTRICT JUDGE

27
28
                              _____________________________________________________
                                                  WAIVER OF PERSONAL APPEARANCE
                                                          OF KHACHATUR ARUTUNYAN
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